                                                Case 5:11-cv-03566-RMW           Document 39       Filed 12/01/11     Page 1 of 1



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                                           4                                                              E-FILED on 12/1/11
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                                           8                                IN THE UNITED STATES DISTRICT COURT
                                           9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          10                                         SAN JOSE DIVISION
For the Northern District of California




                                          11
    United States District Court




                                          12    SCOTT J. DAVIDSON,                                No. CV 11-03566 RMW
                                          13                   Plaintiff,
                                          14            v.
                                                                                                  JUDGMENT
                                          15    JP MORGAN CHASE N.A., WELLS FARGO
                                                BANK, NA AS TRUSTEE OF WAMU
                                          16    MORTGAGE PASS-THROUGH
                                                CERTIFICATES SERIES 2005-PR4,
                                          17    RANDALL D. NAIMAN, NAIMAN LAW
                                                GROUP, PROFESSIONAL CORPORATION,
                                          18
                                                               Defendants.
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                                                      On November 23, 2011, the court dismissed this action with prejudice. Therefore, it is
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                                               hereby adjudged that plaintiff takes nothing by way of his complaint and that judgment be entered in
                                          22
                                               favor of all defendants.
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                                          24
                                          25   DATED:            December 1, 2011
                                                                                                   RONALD M. WHYTE
                                          26                                                       United States District Judge
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                                               JUDGMENT—No. CV 11-03566 RMW
